
ORDER
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel, and the response thereto filed by respondent,
IT IS ORDERED that Paul Stephen Minor, Louisiana Bar Roll Number 9629, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately-
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
/s/ Jeannette Theriot Knoll
Justice, Supreme Court of Louisiana
